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United States District Court
For the District of Columbia

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United States ) fp hl, Grveve Cortie Bich J
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PLAINTIFF “Gece Lontetr, Uses. 9, "etfs
v. ) Case No. 1:21-cr-00003
)
Jacob Chansley )
DEFENDANT ) April 24, 2021
)

 

MOTION FOR LEAVE TO FILE

AMICUS CURIAE BRIEF IN SUPPORT OF THE UNITED STATES CONSTITUTION’S
COMMON DEFENCE OF THE GUARANTEE OF A REPUBLICAN FORM OF GOVERNMENT

 

ORIGINALISM IS IN THE AIR AGAINST THE THREAT OF SOCIALISM, PARTS 1 & 2

 

I am doing what I can as an individual private citizen to stop the current and
ongoing SECOND CIVIL WAR at its infancy (Political Warfare) by causing the restoration
of ORIGINALISM, THE ORIGINAL PUBLIC MEANING DOCTRINE OF CONSTITUTIONAL
INTERPRETATION THROUGH THE FOUR CORNERS DOCTRINE. The present Political Warfare
has weaponized Identity Politics, nihilistic by nature will destroy this country by
perpetuating The Big Lie of Political Warfare by Socialist-leaning Left-Wing Democrats
in treasonous opposition to the “More Perfect Union” intent of the United States
Constitution.

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the UNITED STATES DESCENDING INTO TRIBALISM by taking on a tribal persona in like
manner as televised professional wrestlers because IDENTITY POLITICS is NIHILISTIC BY
NATURE. If that is the case then that is categorized as “performance art” protected by
the FIRST AMENDMENT. And as for his presence at THE BATTLE OF CONGRESS that event is
JUSTIFIED by the UNITED STATES CONSTITUTION’S GUARANTEE OF THE REPUBLICAN FORM OF
GOVERNMENT which is further guaranteed by the COMMON DEFENCE CLAUSE in the

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PREAMBLE, the SECOND AMENDMENT, in combination with the THIRTEENTH & FOURTEENTH
AMENDMENTS triggered by the U.S. Supreme Court’s pro-Slavery case Dred Scott v.
Sandford, 60 U.S. 393 at 417 (1856) to keep and carry arms wherever they went because
the constitutionality of the Biden/Harris Ticket has not been examined to determine
whether the Biden/Harris Ticket went Ultra Licitum on the constitutional law and ethics
for the 2020 PRESIDENTIAL ELECTION.

I suggest that the DEMOCRATS are the real Domestic Enemies of the State who
committed the Actual Treason overthrowing President Trump. Under Constitutional
Law, President Trump is still the President by default of Treason by the Democrats.

“Delusion is Reality for the Corrupt.”

BEHAVIORAL PSYCHOLOGY and THE RULE OF LAW & ACTUAL JUSTICE Quotation coined by
DON HAMRICK, THE PLAINTIFF, after studying the three subjects as an educational hobby
for 30+ years in accordance with ORIGINALISM, the DOCTRINE OF ORIGINAL PUBLIC
MEANING to get to THE ACTUAL TRUTH OF THINGS because THE ACTUAL TRUTH MATTERS.
Not what the State or Federal Courts or what The U.S. Supreme Court says it is with
their “MOTIVATED SKEPTICISM” known as personal/political ideologies, judicial
biases/prejudices backed up by false judicial doctrines and judicial FLIM-FLAM
BAMBOOZLING MEMORANDUM OPINIONS which has put the United States in a SECOND CIVIL
War at its infancy. History demands the restoration of ORIGINALISM & THE COMMON
DEFENCE backed by the rights & duties of the 1°, 2°¢, 9", 10%, 13** & 14" AMENDMENTS.

Parts 1 & 2 of my Amicus Curiae Briefs present evidence that Biden/Harris
violated constitutional election law & ethics during the 2020 PRESIDENTIAL ELECTION.
And if the evidence prove such violations, and I believe the evidence exists despite the
political fanaticism for Biden/Harris, then Biden/Harris committed Treason. If that
proves true in Court then President Trump is reinstated.

FROM THE DOCKET:

3/30/2021 DOCUMENT #34: LEAVE TO FILE DENIED: Amicus Brief
filed by Don Hamrick as to JACOB ANTHONY CHANSLEY This
document is unavailable as the Court denied its filing. “Leave to file
Denied. Thi ires a motio r leave to file that is served on the
U.S. Atto nd counsel fo e defendant so ay conse
oppose”. Signed by Judge Royce C. Lamberth on 3/30/2021. (bb)
(Entered: 04/06/2021)

I Priority Mailed the two remaining attached Amicus Curia Briefs without the
Motion for Leave to File. That is my error in my haste to prepare the two briefs for
immediate mailing.

I present THE BATTLE OF ATHENS, TN, 1946 as case precedent for THE BATTLE OF
CONGRESS, JANUARY 6, 2021 that started the SECOND CIVIL WAR provoked by the
DEMOCRATS just as the INCUMBENT DEMOCRATS PROVOKED THE BATTLE OF ATHENS, TN IN
1946 under nearly identical circumstances. The one significant difference is the
VETERANS PARTY in 1946 were not charged with any crimes for the gun battle with the

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Sheriff, and his deputies to get the ballot boxes back to insure an honest election, the
exact same (a redundancy, I know, just like The Battle of Congress in 2021 is a
redundancy with The Battle of Athens, Tennessee in 1946 (so soon after World War II).

Today veterans and patriotic citizens defending the constitutional Guarantee of
the Republican Form of Government under the Common Defence Clause in the Preamble
to the Constitution are threatened with arrest and prosecution for an activity protected
by the Constitution. That, by definition, is Treason by the Government itself.

This is How to Stop the Second Civil War!

RESURRECT & RESTORE ORIGINALISM,

The DOCTRINE OF ORIGINAL PUBLIC MEANING OF CONSTITUTIONAL
INTERPRETATION THROUGH THE FOUR CORNERS DOCTRINE.

Boyd v. United States, 116 U.S. 616 at 635 (1886): It may be that it is the
obnoxious thing in its mildest and least repulsive form; but illegitimate
and unconstitutional practices get their first footing in that way, namely,
by silent approaches and slight deviations from legal modes of procedure.
This can only be obviated by adhering to the rule that constitutional
provisions for the security of person and property should be liberally
construed. A close and literal construction deprives them of half their
efficacy, and leads to gradual depreciation of the right, as if it consisted
more in sound than in substance. It is the duty of courts to be watchful for
the constitutional rights of the citizen, and against any Stealthy
Encroachments thereon. Their motto should be Obsta Principiis. We
have no doubt that the legislative body is actuated by the same motives,
but the vast accumulation of public business brought before it sometimes
prevents it, on a first presentation, from noticing objections which become
developed by time and the practical application of the Objectionable

Law.

(Chisholm v. Georgia, 2 U.S. 419 at 479 (1793) “the people are the
sovereign of this country,”) to say what the United States Constitution and
the Arkansas Constitution means in accordance with ORIGINALISM, the
DOCTRINE OF ORIGINAL PUBLIC MEANING as confirmed by the TENTH
AMENDMENT POWERS RESERVED TO THE PEOPLE THEMSELVES. That includes
the reserved TENTH AMENDMENT RESERVED POWERS TO THE PEOPLE (CITIZENS
OF ARKANSAS) to file AMICUS CURIAE BRIEFS as ADMISSIBLE EVIDENCE in State
and Federal Courts, including the U.S. Supreme Court by non-attorneys
(SCOTUS Unconstitutional Rule 28.8) under every State’s RULES OF
EVIDENCE and have those AMICUS CURIAE BRIEFS included as part of the
record on appeal in the interest of ACTUAL JUSTICE as part of the CHECKS
AND BALANCE SYSTEM of our DOUBLE-TRIPARTE REPUBLICAN FORM OF
GOVERNMENT with the TREATY CLAUSE as the caveat when any part of the
STATE OR FEDERAL GOVERNMENT spins out of control which will cause this
country to decline into TRIBALISM through NIHILISTIC IDENTITY POLITICS

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which will destroy this country with the present and ongoing SECOND CIVIL
Wak in its infancy (Political Warfare) started by the 2020 PRESIDENTIAL
ELECTION and confirmed by THE BATTLE OF CONGRESS January 6, 2021. THE
BATTLE OF ATHENS, TENNESSEE in August of 1946, is the case precedent
constitutionally justifying THE BATTLE OF CONGRESS.

https://americancommondefencereview. files. wordpress.com/2021/04/originslism-is-in-the-air-part-1.pof
https://americancommondefencereview files. wordpress.com/2021/04/originalism-is-in-the-air-part-2.pdf

The U.S. Department of Justice Manual

1. Citing Title 9 Criminal, § 90.500 INTERNAL SECURITY, IN THE JUSTICE MANUAL
FOR THE U.S. DEPARTMENT OF JUSTICE:

“Numerous offenses pertaining to the INTERNAL SECURITY of the United
States can be prosecuted only with the approval of, and under the
supervision of, the ASSISTANT ATTORNEY GENERAL OF THE NATIONAL
SECURITY DIVISION, OR HIGHER AUTHORITY. Authorization and supervision
requirements are found at JM 9-90.020 [18 U.S.C. § 2381 et seq.
(TREASON,® SEDITION AND SUBVERSIVE ACTIVITIES)). THE
COUNTERINTELLIGENCE AND EXPORT CONTROL SECTION (CES) OF THE NATIONAL
SECURITY DIVISION SUPERVISES PROSECUTIONS INVOLVING INTERNAL SECURITY.
[updated January 2020]”

@ TREASON, includes Judicial Treason as defined in Cohens v.
Virginia, 19 U.S. 264 at 404 (1821)

“It is most true that this Court will not take jurisdiction if it
should not; but it is equally true that it must take jurisdiction
if it should. The judiciary cannot, as the legislature may,
avoid a measure because it approaches the confines of the
Constitution. We cannot pass it by because it is doubtful.
With whatever doubts, with whatever difficulties, a case may
be attended, we must decide it if it be brought before us. We
have no more right to decline the exercise of jurisdiction
which is given than to usurp that which is not given. The one
or the other would be treason to the Constitution. Questions may
occur which we would gladly avoid, but we cannot avoid
them. All we can do is to exercise our best judgment and
conscientiously to perform our duty. In doing this on the
present occasion, we find this tribunal invested with
appellate jurisdiction in all cases arising under the
Constitution and laws of the United States. We find no
exception to this grant, and we cannot insert one.”

 

 
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ALSO APPLICABLE:

“Treason doth never prosper, what’s the treason?
For if it prosper, non dare call it Treason.”

SIR JOHN HARINGTON, “Of Treason,” The Letters and
Epigrams of Sir John Harington ..., ed. Norman E. McClure,
book 4, epigram 5, p. 255 (1977). The complete edtion of
his epigrams was published in 1618. Quotation #1826 in
Respectfully Quoted: A Dictionary of Qupotations from the
Congressional Research Service, edited by Suzy Platt,
Congressional Reference Division, Library of Congress,
Washington, DC. (1989).

2. Citing Title 8 Civil Rights, § 3.000 ENFORCEMENT OF CIVIL RIGHTS CRIMINAL
STATUTES, in the Justice Manual for the U.S. Department of Justice:

8-3.130 CASES OF NATIONAL INTEREST

A case of “national interest” is one that presents important public policy
considerations; a case that presents a novel issue of law; a case that
because of peculiar facts and circumstances may set important precedent; a
case with simultaneous investigations in multiple districts (unless the
UNITED STATES ATTORNEY’S OFFICE in each district and the CIVIL RIGHTS
DIVISION conclude that national interests are not involved); a case with
international or foreign policy implications; a case that is urgent or

sensitive; or a case that substantially affects the uniform application of the

law. A case involving a violation of the federal criminal civil rights laws
resultingin death is presumed to be A CASE OF NATIONAL INTEREST.

The ASSISTANT ATTORNEY GENERAL FOR THE CIVIL RIGHTS DIVISION, after
consultation with the UNITED STATES ATTORNEY, shall determine
whether a case is of “NATIONAL INTEREST,” considering the factors
listed above. In a case of NATIONAL INTEREST, the ASSISTANT ATTORNEY
GENERAL, after consultation with the UNITED STATES ATTORNEY, may
require the UNITED STATES ATTORNEY’S OFFICE and the CIVIL RIGHTS
DIVISION to participate jointly as co-counsel from the initiation of the
investigation through prosecution. The ASSISTANT ATTORNEY GENERAL
FOR THE CIviIL_ RIGHTS DIVISION, after consultation with the UNITED
STATES ATTORNEY, shall take into consideration all of the
circumstances, including the experience of the particular UNITED
STATES ATTORNEY’S OFFICE and the efficient use of government
resources in making staffing decisions. The ASSISTANT ATTORNEY
GENERAL FOR THE CIviL RIGHTS DIVISION, after consultation with the
UNITED STATES ATTORNEY’S OFFICE, may also determine that a case is
best staffed by attorneys only from the UNITED STATES ATTORNEY’S
OFFICE or only from the CIVIL RIGHTS DIVISION.

In a case of NATIONAL INTEREST or that is presumptively of NATIONAL
INTEREST, the UNITED STATES ATTORNEY’S OFFICE in the relevant district,

 

 

 

 

 

 

 

 

 

 

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_ the FBI, and the CIVIL RIGHTS DIVISION should consult and coordinate
with each other before any press conference is held or before any
statement is made to the media.

[updated March 2018]
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